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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Council For Aid To Education, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  1732 First Avenue
                                  New York, NY 10120-8000
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  New York                                                       Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.CAE.org


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 1
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                                                                            2 of 26
Debtor    Council For Aid To Education, Inc.                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9
                                           Chapter 11. Check all that apply:
     A debtor who is a “small
     business debtor” must check                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     the first sub-box. A debtor as                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     defined in § 1182(1) who                                    $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     elects to proceed under                                     operations, cash-flow statement, and federal income tax return or if any of these documents do not
     subchapter V of chapter 11                                  exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     (whether or not the debtor is a                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     “small business debtor”) must                               debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     check the second sub-box.                                   proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                 Case number
                                                 District                                 When                                 Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                    Relationship
                                                 District                                 When                             Case number, if known




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor   Council For Aid To Education, Inc.                                                         Case number (if known)
         Name




11. Why is the case filed in     Check all that apply:
    this district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                          preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                          A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or           No
    have possession of any
    real property or personal        Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                What is the hazard?
                                                 It needs to be physically secured or protected from the weather.
                                                  It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                 Other
                                             Where is the property?
                                                                               Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                 No
                                                 Yes. Insurance agency
                                                         Contact name
                                                         Phone



         Statistical and administrative information

13. Debtor's estimation of       .         Check one:
    available funds
                                              Funds will be available for distribution to unsecured creditors.
                                              After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of              1-49                                              1,000-5,000                                25,001-50,000
    creditors                        50-99                                             5001-10,000                                50,001-100,000
                                     100-199                                           10,001-25,000                              More than100,000
                                     200-999

15. Estimated Assets                 $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities            $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Council For Aid To Education, Inc.                                                       Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 30, 2021
                                                  MM / DD / YYYY


                             X                                                                            Robert J. Yayac
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO and President




18. Signature of attorney    X                                                                             Date June 30, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 James B. Sowka
                                 Printed name

                                 Seyfarth Shaw LLP
                                 Firm name

                                 233 S. Wacker Drive
                                 Suite 8000
                                 Chicago, IL 60606
                                 Number, Street, City, State & ZIP Code


                                 Contact phone       312-460-5000                Email address      jsowka@seyfarth.com

                                 6291998 IL
                                 Bar number and State

                                 Conflict Counsel:

                                 Jeffrey A. Cooper
                                 Rabinowitz, Lubetkin & Tully LLC
                                 293 Eisenhower Parkway, Suite 100
                                 Livingston, NJ 07039
                                 (973) 597-9100, ext. 118




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                      RESOLUTIONS OF BOARD OF DIRECTORS OF
                         COUNCIL FOR AID TO EDUCATION, INC.
                                           June 24, 2021
The undersigned, being all the Directors of Council for Aid to Education, Inc. a Delaware not-
for-profit corporation, (the "Company"), acting by written consent without a meeting, do hereby
consent to the adoption of the following resolutions as of the date hereof:
       WHEREAS, the Company has determined that it is desirable and in the best interests of
the Company and its creditors, employees, and other interested parties that a petition be filed by
the Company, seeking relief under the provisions of Chapter 11 of Title 11 of the United States
Code (the "Bankruptcy Code").
A. Chapter 11 Case.

       NOW, THEREFORE, BE IT RESOLVED, that the Company be, and hereby is,
authorized and empowered to file a voluntary petition for relief under Chapter 11 of the
Bankruptcy Code in a court of proper jurisdiction (the "Bankruptcy Court"); and
         RESOLVED FURTHER, that Robert Yayac ("Authorized Officer(s)") be, and hereby
is, authorized, in the name and on behalf of the Company, appointed as the Company's
authorized representatives, and in such capacity, acting alone or together, with power of
delegation, be, and they hereby are, authorized and empowered to execute and file on behalf of
the Company, including in the Company's capacity as shareholder or member of its subsidiaries,
all petitions, schedules, lists, applications, pleadings and other motions, papers, agreements,
consents or documents, and to take any and all action that they deem necessary or proper to
obtain such relief, including, without limitation, any action necessary to maintain the ordinary
course operation of the Company's businesses.
B. Retention of Professionals

        RESOLVED FURTHER, that each Authorized Officer be, and they hereby are,
authorized and directed to employ the law firm of Seyfarth Shaw LLP as general bankruptcy
counsel to represent and assist the Company in carrying out its duties under the Bankruptcy
Code, and to take any and all actions to advance the Company's rights and obligations, including
filing any pleadings; and in connection therewith, each of the Authorized Officers, with power of
delegation, are hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed an appropriate application for authority to retain the
services of Seyfarth Shaw LLP.
        RESOLVED FURTHER, that each Authorized Officer be, and they hereby are,
authorized and directed to employ the law firm of Rabinowitz, Lubetkin & Tully, LLC as co-
bankruptcy counsel to represent and assist the Company in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance the Company's rights and
obligations, including filing any pleadings; and in connection therewith, each of the Authorized
Officers, with power of delegation, are hereby authorized and directed to execute appropriate
retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
application for authority to retain the services of Rabinowitz, Lubetkin & Tully, LLC.




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         RESOLVED FURTHER that each Authorized Officer be, and they hereby are,
authorized and directed to employ any other professionals to assist the Company in carrying out
its duties under the Bankruptcy Code, and to take any and all actions to advance the Company's
rights and obligations; and in connection therewith, each of the Authorized Officers, with power
of delegation, are hereby authorized and directed to execute appropriate retention agreements,
pay appropriate retainers, and to cause to be filed appropriate applications for authority to retain
the services of any other professionals as necessary.
       RESOLVED FURTHER that each Authorized Officer be, and they hereby are, with
power of delegation, authorized, empowered and directed to execute and file all petitions,
schedules, motions, lists, applications, pleadings, and other papers and, in connection therewith,
to employ and retain all assistance by legal counsel, accountants, financial advisors, and other
professionals and to take and perform any and all further acts and deeds that each of the
Authorized Officers deem necessary, proper or desirable in connection with the Chapter 11
Cases, with a view to the successful prosecution of such case.
C. General

        RESOLVED FURTHER, that in addition to the specific authorizations heretofore
conferred upon the Authorized Officers, each of the Authorized Officers (and their designees and
delegates) be, and they hereby are, authorized and empowered, in the name of and on behalf of
the Company, to take or cause to be taken any and all such other and further action, and to
execute, acknowledge, deliver and file any and all such agreements, certificates, instruments and
other documents and to pay all expenses, including but not limited to filing fees, in each case as
in such officer's or officers' judgment, shall be necessary, advisable or desirable in order to fully
carry out the intent and accomplish the purposes of the resolutions adopted herein.
       RESOLVED FURTHER, that all members of the Board of Directors of the Company
have received sufficient notice of the actions and transactions relating to the matters by the
foregoing resolutions, as may be required by the organizational documents of the Company, or
hereby waive any right to have received such notice.
        RESOLVED FURTHER, that all acts, actions and transactions relating to the matters
contemplated by the foregoing resolutions done in the name of and on behalf of the Company,
which acts would have been approved by the foregoing resolutions except that such acts were
taken before the adoption of these resolutions, are hereby in all respects approved and ratified as
the true acts and deeds of the Company with the same force and effect as if each such act,
transaction, agreement or certificate has been specifically authorized in advance by resolution by
the Board of Directors.
        RESOLVED FURTHER, that these resolutions may be executed and delivered in
multiple counterparts and via facsimile or other electronic means, all of which taken together
shall constitute one and the same instrument.




                                    [SIGNATURE PAGE FOLLOWS]




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IN WITNESS WHEREOF, THE UNDERSIGNED BOARD OF DIRECTORS HAVE DULY EXECUTED THESE
RESOLUTIONS AS OF THE DATE FIRST WRITTEN ABOVE.


                                            .............................................
                                            Robert Yayac, Director


                                            .............................................
                                            Michael D. Rich, Director


                                            .............................................
                                            Eduardo J. Marti, Director


                                            .............................................
                                            Dennis Brown, Director


                                            .............................................
                                            Michael Feuer, Director


                                            .............................................
                                            Diane Ferguson, Director


                                            .............................................
                                            Judith Eaton, Director




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Title
                                  Board Resolution
File Name
                              210624 Board Reso...ter 11 Filing.pdf
Document ID
                            962b24c99d3abe7f69376182fb4aef7aae489532
Audit Trail Date Format
                MM / DD / YYYY
Status                                      Out For Signature




                 06 / 24 / 2021         Sent for signature to Michael Rich (mrich@rand.org), Michael
                 13:00:51 UTC           Feuer (mjfeuer@gmail.com), Dennis Brown
                                        (dennis.brown@npd.com), Eduardo Marti
                                        (eduardomarti70@gmail.com), Diane Ferguson
                                        (dianeferguson49@gmail.com) and Judith Eaton
                                        (eaton@chea.org) from ryayac@cae.org
                                        IP: 162.208.51.172




                 06 / 24 / 2021         Viewed by Michael Feuer (mjfeuer@gmail.com)
                 13:13:31 UTC           IP: 128.164.102.185




                 06 / 24 / 2021         Signed by Michael Feuer (mjfeuer@gmail.com)
                 13:15:16 UTC           IP: 128.164.102.185




                 06 / 24 / 2021         Viewed by Diane Ferguson (dianeferguson49@gmail.com)
                 14:11:56 UTC           IP: 107.77.223.79
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Title
                                  Board Resolution
File Name
                              210624 Board Reso...ter 11 Filing.pdf
Document ID
                            962b24c99d3abe7f69376182fb4aef7aae489532
Audit Trail Date Format
                MM / DD / YYYY
Status                                      Out For Signature




                 06 / 24 / 2021         Signed by Diane Ferguson (dianeferguson49@gmail.com)
                 14:38:59 UTC           IP: 107.77.223.79




                 06 / 25 / 2021         Viewed by Michael Rich (mrich@rand.org)
                 13:01:04 UTC           IP: 72.134.226.169




                 06 / 25 / 2021         Signed by Michael Rich (mrich@rand.org)
                 13:01:51 UTC           IP: 72.134.226.169




                 06 / 25 / 2021         Viewed by Judith Eaton (eaton@chea.org)
                 18:07:49 UTC           IP: 73.212.222.237




                 06 / 25 / 2021         Signed by Judith Eaton (eaton@chea.org)
                 18:08:34 UTC           IP: 73.212.222.237




                 06 / 26 / 2021         Viewed by Eduardo Marti (eduardomarti70@gmail.com)
                 12:25:19 UTC           IP: 73.227.252.55
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Title
                                  Board Resolution
File Name
                              210624 Board Reso...ter 11 Filing.pdf
Document ID
                            962b24c99d3abe7f69376182fb4aef7aae489532
Audit Trail Date Format
                MM / DD / YYYY
Status                                      Out For Signature




                 06 / 26 / 2021         Signed by Eduardo Marti (eduardomarti70@gmail.com)
                 12:26:56 UTC           IP: 73.227.252.55




                 06 / 26 / 2021         This document has not been fully executed by all signers.
                 12:26:56 UTC
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 Fill in this information to identify the case:

 Debtor name         Council For Aid To Education, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                             12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          June 30, 2021                           X /s/ Robert J. Yayac
                                                                       Signature of individual signing on behalf of debtor

                                                                       Robert J. Yayac
                                                                       Printed name

                                                                       CEO and President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Council For Aid To Education, Inc.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF NEW                                                                                     Check if this is an
                                                YORK
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 215 Dorchester                                                 Commercial                                                                                           $523,189.08
 Partners, LLC                                                  Real Estate
 215 Lexington                                                  Lease
 Avenue
 16th Floor
 New York, NY
 10016
 Citbank Client                                                 PPP Loan                                                                                             $259,672.16
 Services
 Attn: C.P.S.
 PO Box 769007
 San Antonio, TX
 78245-9966
 Con Edison                                                     Utility                                                                                                  $1,378.32
 JAF STATION
 PO BOX 1702
 New York, NY
 10116-1702
 Dynalink                                                       Utility                                                                                                $15,406.85
 Communications,
 Inc.
 PO Box 3415
 Church Street
 Station
 New York, NY
 10008
 Michele Oberly                                                 Severance                                                                                              $16,147.50
 205 West 88th
 Street
 Apt. 7E
 New York, NY
 10024
 WLCE                                                           Vendor                                                                                               $150,025.00
 171 Executive
 Drive
 New Hype Park,
 NY 11040




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      Council For Aid To Education, Inc.                                                         Case No.
                                                                                   Debtor(s)           Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the CEO and President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:       June 30, 2021                                              /s/ Robert J. Yayac
                                                                        Robert J. Yayac/CEO and President
                                                                        Signer/Title




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A
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M
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                          215 DORCHESTER PARTNERS, LLC
                          215 LEXINGTON AVENUE
                          16TH FLOOR
                          NEW YORK, NY 10016


                          215   DORCHESTER PARTNERS, LLC
                          C/O   GARY J. WACHTEL
                          450   SEVENTH AVE., SUITE 1905
                          NEW   YORK, NY 10123


                          ABLESPARK
                          1058 MARYWOOD DRIVE
                          DAVIDSONVILLE, MD 21035


                          ALEXANDRA TABIBNIA
                          15 MORLEY COURT
                          ALBERTSON, NY 11507


                          ALISON BRUSCH
                          175 ANDRASSY AVENUE
                          FAIRFIELD, CT 06824


                          AMY RYAN
                          41 PIONEER DRIVE
                          DUXBURY, MA 02332


                          ANDREW MARX
                          2404 CHILHAM COURT
                          RICHMOND, VA 23235


                          ANGELA MATSUOKA
                          4220 HOLLAND DRIVE
                          DES MOINES, IA 50310


                          ANN E WEIL
                          25 DUFFY LANE
                          ALSTEAD, NH 03602


                          ATHENA WITSCHER
                          136 8TH ST
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                      THOUSAND OAKS, CA 91360
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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      Council For Aid To Education, Inc.                                                         Case No.
                                                                                  Debtor(s)            Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for        Council For Aid To Education, Inc.            in the above captioned action,
certifies that the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly
own(s) 10% or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under
FRBP 7007.1:



    None [Check if applicable]




 June 30, 2021                                                        /s/ James B. Sowka
 Date                                                                 James B. Sowka
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for Council For Aid To Education, Inc.
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